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            EXHIBIT D
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                                                                                                                    mwe.com

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November 15, 2023

Kaplan Hecker & Fink LLP
ATTN: Roberta A. Kaplan (rkaplan@kaplanhecker.com)
        John Quinn (jquinn@kaplanhecker.com)
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350 West Fifth Avenue, 63rd Floor
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Re:    X Corp. v. Center for Countering Digital Hate, Inc., et al.; No. 3:23-cv-03836-CRB (N.D. Cal.)

Dear Roberta:

We are in receipt of your November 10, 2023 letter regarding the above-referenced matter. The allegations
in X Corp.’s First Amended Complaint (ECF 10, the “FAC”) are well supported, and fully compliant with
Rule 11.

First, your clients in this matter -- the Center for Countering Digital Hate, Inc. and the Center for
Countering Digital Hate Ltd. (collectively, the “CCDH Entities”) -- do not have and never had a contract
with Runtime Collective Ltd. T/A Brandwatch (“Brandwatch”). This is even reflected in the email thread
attached to your letter, which shows that the CCDH Entities were using a Brandwatch account that a
separate entity, defendant Stichting European Climate Foundation (“ECF”), contracted for. ECF was,
moreover, not permitted to authorize the CCDH Entities to use its Brandwatch account.

Second, the CCDH Entities’ “report” points to non-public data that could have only been obtained from
them illegally accessing the Brandwatch service, including, but not limited to, information set forth in a
chart on page 4 of the CCDH Entities’ “report.” The CCDH Entities have also admitted to using
Brandwatch for their work in other public statements. The CCDH Entities are of course aware of what
non-public data they accessed via the Brandwatch service, and how they used that data.

While X Corp. expects to obtain more specific details of these issues in discovery, to the best of our
knowledge, the assertions in your letter are incorrect, and X Corp. will not dismiss any of the claims
asserted in the FAC. If you disagree, we are of course amenable to considering any additional information
or documents you may provide.

Sincerely,



Jon Hawk

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Will a Emery
                                         US practice conducted through McDermott Will & Emery LLP.
